      Case 1:22-cv-21317-FAM Document 3 Entered on FLSD Docket 04/28/2022 Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                   YOSDALIS E. GARCIA                                 )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 22cv21317
                                                                      )
       AAM Insurance Corp, Alberto Dominguez                          )
      Menendez, and Alain Dominguez Menendez                          )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) AAM Insurance Corp through its Registered Agent:

                                           DOMINGUEZ MENENDEZ, ALBERTO
                                           9880 SW 40TH ST
                                           MIAMI, FL 33165



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Zandro E. Palma, P.A.
                                           9100 S. Dadeland Blvd.
                                           Suite 1500
                                           Miami, FL 33156
                                           Tel: 305-446-1500


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:        Apr 28, 2022                                                                                      s/ Mary Etienne
                                                                                          Signature of Clerk or Deputy Clerk
      Case 1:22-cv-21317-FAM Document 3 Entered on FLSD Docket 04/28/2022 Page 2 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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                                                    __________ Districtof
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                                                                          Florida


                   YOSDALIS E. GARCIA                                 )
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                            Plaintiff(s)                              )
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                                v.                                            Civil Action No. 22cv21317
                                                                      )
       AAM Insurance Corp, Alberto Dominguez                          )
      Menendez, and Alain Dominguez Menendez                          )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Alain Dominguez Menendez

                                           9880 SW 40TH ST
                                           MIAMI, FL 33165




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Zandro E. Palma, P.A.
                                           9100 S. Dadeland Blvd.
                                           Suite 1500
                                           Miami, FL 33156
                                           Tel: 305-446-1500


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Date:        Apr 28, 2022                                                                                      s/ Mary Etienne
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      Case 1:22-cv-21317-FAM Document 3 Entered on FLSD Docket 04/28/2022 Page 3 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                   YOSDALIS E. GARCIA                                 )
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                            Plaintiff(s)                              )
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                                v.                                            Civil Action No. 22cv21317
                                                                      )
       AAM Insurance Corp, Alberto Dominguez                          )
      Menendez, and Alain Dominguez Menendez                          )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Alberto Dominguez Menendez

                                           9880 SW 40TH ST
                                           MIAMI, FL 33165




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are: Zandro E. Palma, P.A.
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                                           Suite 1500
                                           Miami, FL 33156
                                           Tel: 305-446-1500


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                                                                                CLERK OF COURT


Date:        Apr 28, 2022                                                                                      s/ Mary Etienne
                                                                                          Signature of Clerk or Deputy Clerk
